Case 2:05-Cr-20081-BBD Document 20 Filed 08/10/05 Page 1 of 2 Page|D 18

 

 
 

 

 

IN THE UNITED sTATEs DISTRICT coURT F""~H‘- %c\
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVIsIoN 05 AUG 19 AH 'O' 55
. ;~l, »-” ;'E le
UNITED sTATEs oF AMERICA mile hiech
v.
MITCHAEL BARRINGER 05cr20081-D
ORDER ON ARRAIGNMENT

This cause came to be heard thhe United States Attorney
for this district appeared on behalf of the go ment, an the de endant appeared in person and with
counsel:

NAMM?£% 1'¢/€% IH'/`/¢/ / who is Retained/Ap_pointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, who is not in custody, may stand on his present bond.
l/Tlie defendant, (not ha/ving_maele-bond) (beirlg,a»s'tlt"'w:pr§ier) (being a federal

prisoner) (being held Without bond pursuant to BRA of 1984), is remanded to the Custody

of the U.S. Marshal.
l ’ 7
UNITED STATES MAGISTRATE ]UDGE

CHARGES - 18;2113(.3)
BANI< ROBBERY BY FORCE 012 vIOLENCE

Attorney assigned to Case: T. Arvin
Age: 3¢/ f

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CR-20081 Was distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

 

 

Tony R. Arvin

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Honorable Bernice Donald
US DISTRICT COURT

